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               Pharmacokinetics and metabolism of sildenafil in
               mouse, rat, rabbit, dog and man

               D. K. WALKER

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                                                                                   Pharm acokinetics and m etabolism of sildena® l in
                                                                                   m ouse, rat, rabbit, dog and m an

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                                                                                       1. Pharmacokinetics were studied in mouse, rat, rabbit, dog and man after single
                                                                                   intravenous and } or oral doses of sildena® l or [ " % C]-sildena® l (Viagra TM ).
                                                                                       2. In man, absorption from the gastrointestin al tract was essentially complete. With the
                                                                                   exception of male rat, T max occurred at C 1 h or less. Bioavailability was attenuated by pre-
                                                                                   systemic hepatic metabolism in all species.
                                                                                      3. The volume of distribution was similar in rodents and humans (1± 2 l } kg) but was
                                                                                   greater in dog (5.2 l} kg), due to lower plasma protein binding (84 versus 94± 96 %
                                                                                   respectively).
                                                                                       4. High clearance was the principal determinant of short elimination half-lives in
                                                                                   rodents (0.4± 1.3 h), whereas moderate clearance in dog and man resulted in longer half-
                                                                                   lives (6.1 and 3.7 h respectively). Clearances were in agreement with in vitro metabolism
                                                                                   rates by liver microsomes from the various species.
                                                                                      5. After single oral or intravenous doses of [" % C]-sildena® l, the majority of radioactivity
                                                                                   was excreted in the faeces of all species. No unchanged drug was detected in the excreta of
                                                                                   man.
                                                                                       6. Five principal pathways of metabolism in all species were piperazine N-demethy-
                                                                                   lation, pyrazole N-demethylation, loss of a two-carbon fragment from the piperazine ring
                                                                                   (N,N ´-deethylation), oxidation of the piperazine ring and aliphatic hydroxylation.
                                                                                   Additional metabolites arose through combinations of these pathways.
                                                                                      7. Sildena® l was the major component detected in human plasma. Following oral
                                                                                   doses, AUC ¢ for the piperazine N-desmethyl and piperazine N,N ´-desethyl metabolites
                                                                                   were 55 and 27 % that of parent compound respectively.


                                                             In trodu ction
                                                                 Sildena® l (ViagraÔ , 1-[4-ethoxy-3-(6,7-dihydro-1-methyl-7-oxo-3-propyl-1H-
                                                             pyrazolo[4,3-d]pyrimidin-5-yl) phenylsulphonyl]-4-methyl piperazine ; ® gure 1) is
                                                             a novel inhibitor of the human cGM P-speci® c phosphodiesterase type 5 enzyme
                                                             (PDE5) found in human corpus cavernosum, discovered through a rational drug
                                                             design programme (Terrett et al. 1996). The compound is relatively lipophilic
                                                             (log D ( . % = 2.7) with a weakly basic centre in the piperazine tertiary amine
                                                             (pK a = 6.5). Sildena® l is a potent inhibitor of PDE5 with an IC & ! of 4 n m and shows
                                                             selectivity in potency over other PDE isozymes (Ballard et al. 1996). It has been
                                                             shown to be eå ective as an oral (p.o.) treatment for male erectile dysfunction (Boolell
                                                             et al. 1996).
                                                                 To date, information on the disposition of sildena® l is limited to preliminary
                                                             animal pharmacokinetic data (Rance et al. 1996) and p.o. pharmacokinetic data in
                                                             human volunteers (Muirhead et al. 1996). In these studies, the piperazine N-

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                                                             Figure 1.   Structure of sildena® l, its metabolite, UK-103,320 (*position of [" % C] label) and internal
                                                                                                       standard, UK-89,539.


                                                             desmethyl metabolite (UK-103,320 ; ® gure 1) was identi® ed as a major circulating
                                                             metabolite in mouse, rat, dog and man. This paper reports the pharmacokinetics and
                                                             metabolism of sildena® l in animals and man and attempts to rationalize the
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                                                             diå erences and similarities observed between species.
                                                                 In the work described, bioavailability and pharmacokinetic studies have been
                                                             conducted in animals using a speci® c hplc method to analyse sildena® l and UK-
                                                             103,320 in biological ¯ uids. Bioanalysis in man was conducted using automated
                                                             sequential trace enrichment of dialysates (ASTED) and hplc (Cooper et al. 1997). In
                                                             addition, radiolabelled sildena® l has been administered to laboratory animals and
                                                             man to investigate its metabolic fate.

                                                             M aterials and m eth ods
                                                             Chemicals
                                                                Sildena® l citrate (UK-92,480), authentic samples of metabolites UK-103,320, UK-150,564, UK-
                                                             95,340, UK-331,849 and UK-332,012 (® gure 4) and internal standard, UK-89,539 (® gure 1) were
                                                             synthesized at P® zer Central Research (Sandwich, UK). [Pyrimidine ring-2- " % C]-sildena® l was prepared
                                                             by Amersham Intl (Amersham , UK) with a radiochemical purity " 97 % (by radiochemical hplc) and a
                                                             speci® c activity of 24 l Ci} mg. The chemical purity of all compounds was 95 % or greater.

                                                             Administration to animals
                                                                  Sildena® l citrate or [" % C]-sildena® l citrate was dissolved in 0.1 N hydrochloric acid for intravenous
                                                             (i.v.) and p.o. administration to mouse, rat, rabbit and dog. Five male beagle dogs (P® zer colony,
                                                             12± 17 kg) received sildena® l i.v. by infusion (5-min duration) into a saphenous vein at 1.0 mg } kg. The
                                                             same animals received p.o. solution doses administered via gavage tube at 1.0 mg } kg. Doses were
                                                             administered at least 7 days apart. Blood samples (5 ml) were collected from an indwelling saphenous vein
                                                             cannula (opposite leg to that used for infusion) for the ® rst 8 h and subsequently by venepuncture of the
                                                             cephalic vein. One male and one female dog received [" % C]-sildena® l orally at 20 mg } kg containing
                                                             C 200 l Ci. Animals were housed in individual stainless steel metabolism cages (Modular Systems and
                                                              Development Company Ltd) designed for separate collection of urine and faeces.
                                                                  Ten female New Zealand White rabbits (2.2± 2.8 kg, Frox® eld Farm Ltd, Peters® eld, UK) received
                                                              single p.o. doses of [" % C]-sildena® l by gavage (50 mg } kg and C 40 l Ci in 12 ml). Blood samples (6 ml)
                                                              were collected from two animals per time point from the central ear artery, there being a total of four
                                                              samples per animal up to 24 h. Three animals (not used for blood sampling) were housed individually in
                                                              stainless steel metabolism cages adapted to enable the separate collection of urine and faeces.
                                                                  Six male and six female Sprague-Dawley rats ( C 250 g, Charles River, Manston, UK) were surgically
                                                              prepared with a jugular vein catheter at least 2 days prior to dose administration. Three male and three
                                                              female animals received single i.v. doses into the caudal vein (4 mg } kg in 0.25 ml). Three male and three
                                                              female animals received single p.o. doses by gavage tube (45 mg } kg in 2.5 ml). Blood samples (200 l l)
                                                              were collected from the jugular vein catheter and the volume replaced with blood from a donor rat up to
                                                              12 h post-dosing. A ® nal blood sample (5 ml) was collected at 24 h from the vena cava under halothane
                                                              anaesthesia. In addition, non-cannulated male and female Sprague-Dawley rats (C 250 g) received p.o.
                                                              sildena® l by gavage tube (1 mg } kg in 1 ml). Blood samples (5 ml) were collected from the vena cava of two
                                                              animals at each time point. Doses of [ " % C]-sildena® l were administered by p.o. gavage (45 mg } kg and
                                                              C 25l Ci in 2.5 ml) to three male and three female Sprague Dawley rats, which were then housed in
                                                               individual glass metabolism cages (Jencons Scienti® c Ltd) designed for collection of carbon dioxide,
                                                               urine and faeces.


                                                                                                      PX226-0003
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                                                metabolism
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                                                                 Male mice (CD1 strain, C 25 g, supplied by Charles River, Manston, Kent) were dosed with
                                                             sildena® l by i.v. injection into the caudal vein (1 mg } kg in 0.1 ml) or by p.o. gavage (10 mg } kg in 0.5 ml).
                                                             Blood samples (0.8 ml) were collected from the vena cava of ® ve mice at each time point and pooled.
                                                             Doses of [" % C]-sildena® l were administered by p.o. gavage (10 mg } kg and C 10l Ci in 0.5 ml) to three
                                                             male and three female mice which were then housed individually in glass metabolism cages (Jencons
                                                             Scienti® c Ltd) designed for the separate collection of urine and faeces.
                                                                 Urine and faeces samples were collected daily for 5 days from mice, rats and rabbits and for 6 days
                                                             from dogs following dosing of radiolabelled compound. Urine was stored frozen at C                –20 C before
                                                                                                                                                                  Ê
                                                             analysis. Faecal samples were homogenized with 2 vols water for mouse, rat and dog and 4 vols water for
                                                             rabbit and the homogenate stored frozen at C         –20 C before analysis. Respired air from rats receiving
                                                                                                                     Ê
                                                             radiolabelled compound was passed through two traps containing 2 m sodium hydroxide. Aliquots of the
                                                             trap ¯ uid were retained for analysis of radioactivity. All blood samples were collected into lithium heparin
                                                             tubes, mixed and centrifuged. After centrifugation, plasma samples were transferred to glass tubes and
                                                             stored at C    –20 C prior to analysis.
                                                                               Ê
                                                             Administration to man
                                                                 [ " % C]-sildena® l ( C 50 l Ci) was administered in solution orally (50 mg) or intravenously (25 mg) to six
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                                                             healthy male volunteers. The clinical study was conducted in compliance with the revised Declaration of
                                                             Helsinki (1989) at the Besselaar Clinical Research Unit, Leeds, UK. The trial was reviewed and approved
                                                             by the local ethics committee. The six volunteers provided written informed consent, were aged between
                                                             45 and 60 years and weighed between 60 and 90 kg. The subjects showed no evidence of any clinically
                                                             signi® cant disease, or clinically signi® cant abnormality following review of laboratory data and full
                                                             physical examination. Drug was administered i.v. as a constant rate infusion (1 ml } min) for 25 min.
                                                             Blood samples (7 ml) were withdrawn from the forearm and transferred to lithium heparin tubes, mixed
                                                             and centrifuged. Additional volumes of 50 ml blood were collected at 1 and 8 h post-dose. Following
                                                             centrifugation, plasma samples were transferred to glass tubes and stored at –20 C until analysis. Urine
                                                                                                                                                   Ê
                                                             and faeces were collected into polythene containers and stored at C          –20 C until analysed.
                                                                                                                                             Ê
                                                             Analysis of sildena® l in plasma samples from animals and man
                                                                 The analysis of plasma samples for sildena® l and UK-103, 320, from rat, rabbit and man employed
                                                             the automated sequential trace enrichment of dialysates (ASTED) and high-perform ance liquid
                                                             chromatography (hplc) procedure of Cooper et al. (1997). UK-150,564 was also analysed in human
                                                             plasma samples by a modi® cation of this method. The analytical procedure for rat and rabbit plasma was
                                                             validated by the analysis of quality control samples, prepared by the addition of sildena® l and UK-
                                                             103,320 and stored frozen prior to analysis. The imprecision was ! 15 % at all concentrations
                                                             (3± 200 ng } ml) and the limit of quantitation was 1 ng } ml. The method used for the analysis of plasma
                                                             samples from mice and dogs involved the addition of internal standard (400 ng UK-89,539) and mixing
                                                             with 1 ml 0.05 m TRIS buå er, pH 9.0. The samples were applied to activated solid phase extraction
                                                             cartridges (CH Bond Elut, Analytichem International) and the resin washed with the above TRIS buå er
                                                             and 20 % acetonitrile in water. Analytes were eluted with 1 ml methanol, evaporated to dryness under a
                                                             nitrogen stream and resuspended in 100 l l methanol} water (60 : 40 v} v). Samples (80 l l) were injected
                                                             onto the hplc column (Spherisorb 5 l ODS 2 253 0.5 cm, Hichrom, Reading, UK) with a mobile phase
                                                             consisting of methanol} 0.1 m TEMED phosphate, pH 5.0 (55 : 45 v} v) at 1 ml } min. Detection was by
                                                             UV absorbance at 290 nm. The limit of detection of the assay was 5 ng } ml for sildena® l and UK-103,320
                                                             and analysis of samples of concentration unknown to the operator gave results within 10 % of the correct
                                                             value. Dog urine was also analysed by this method. The solid phase extraction method was used prior to
                                                             the development of the ASTED method mentioned previously.


                                                             Pharmacokinetic analysis of data
                                                                  Terminal elimination rate constant (kel ) was determined by linear regression of the log plasma
                                                             concentrations. Area under the plasma concentration versus time curve (AUC) was calculated to the last
                                                             time point from the linear trapezoidal method. AUC ¢ was calculated from extrapolation to in® nity with
                                                             kel . Clearance (Cl) was calculated by the relationship dose } AUC ¢ and the volume of distribution was
                                                             calculated by the relationship Cl} k el .


                                                             Protein binding
                                                                 Samples of mouse, rat, rabbit, dog and human plasma (1 ml) containing [" % C]-sildena® l (range
                                                             0.01± 10 l g} ml) were dialysed (Spectrapor 1 dialysis membrane 6000± 8000 molecular weight cut-oå ;
                                                             Spectrum Medical Industries) against isotonic Krebs-Ring er bicarbonate buå er, pH 7.4 (1 ml) for 3 h at
                                                               Ê
                                                             37 C in a rotating dialyser (Dianorm, MSE). Following dialysis, concentrations of drug in plasma and
                                                             buå er were measured by liquid scintillation counting. The plasma protein binding of the metabolite,
                                                             UK-103,320, was determined at a single concentration of 1 l g} ml in plasma from each species. Dialysis


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                                                             conditions were the same as those used for sildena® l and concentrations of UK-103,320 were determined
                                                             by solid-phase extraction and hplc analysis (as previously described). For each species duplicate
                                                             determinations were performed for sildena® l and UK-103,320.


                                                             Analysis of radioactivity
                                                                Radioactivity in samples (0.5 ml) of plasma and urine was measured by liquid scintillation counting
                                                             in Lumagel (Rho# ne-Poulenc) or scintillation system MI31 (Packard Instrument Ltd). Radioactivity in
                                                             weighed homogenized faeces samples ( C 0.2± 0.4 g) was determined by liquid scintillation counting of
                                                             evolved CO after combustion of the samples in a sample oxidizer (M odel 306} 307, Packard Instruments
                                                                         #
                                                             Ltd).


                                                             Analysis of plasma for metabolites
                                                                The identity of human and animal plasma metabolites of sildena® l was investigated by analysis of
                                                             plasma extracts by hplc. Plasma samples were extracted using C18 Bond Elut cartridges (Analytichem
                                                             International) which were washed with 0.1 m HEPES buå er (pH 7) and eluted with methanol. Samples
                                                             were evaporated to dryness under a nitrogen stream and reconstitute d in 30 % methanol :70 % 0.05 m
                                                             ammonium acetate. Each sample was injected onto a gradient hplc system comprising a 12.53 0.46 cm
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                                                             Spherisorb 5 l ODS2 column (Hichrom) eluted by a gradient of 35± 80 % methanol in 0.05 m aqueous
                                                             ammonium acetate over 30 min at 1 ml } min. The eluate was monitored for UV absorbance (230 nm) and
                                                             by an in-line radioactivity monitor (b -Ram, Lablogic Ltd) or by fraction collection (0.25 min), mixing
                                                             with 2 ml Starscint scintillation ¯ uid followed by liquid scintillation counting. For identi® cation of
                                                             human metabolites, plasma samples (3 ml) from each volunteer were pooled at both the 1 and 8 h post-
                                                             dose time points. Metabolites were extracted as described above and components separated on the
                                                             gradient hplc system. Radioactive components were manually collected and analysed by mass
                                                             spectrometry.


                                                             Analysis of urine for metabolites
                                                                 For each species, gender and route of administratio n, pooled 0± 24 h urine samples were prepared.
                                                             These were extracted and analysed by a gradient hplc system comprising a 153 0.46 cm Spherisorb 5 l
                                                             ODS2 column (Hichrom) eluted by a gradient of 35± 70 % methanol in 0.05 m aqueous ammonium
                                                             acetate over 60 min at 1 ml} min. Metabolites were isolated from a 10 ml pooled human urine sample by
                                                             the same method described for plasma. These metabolites were further puri® ed by isocratic hplc prior to
                                                             mass spectral analysis.


                                                             Analysis of faeces for metabolites
                                                                 Homogenized faeces samples were pooled proportiona lly from timed collections for each species,
                                                             gender and route of administration for all samples containing " 5 % of the administered dose. Faecal
                                                             homogenates were extracted using 20 % methanol : 80 % ethyl acetate. The extract was evaporated to
                                                             dryness and resuspended in methanol, washed with cyclohexane and evaporated to a small volume, which
                                                             was mixed with 30 % methanol : 70 % water. This was extracted and analysed by gradient hplc as
                                                             described above for urine. Metabolites were isolated from similarly prepared extracts of pooled human
                                                             (20 g), dog (50 g), rabbit (45 g), rat (2 g) and mouse (2 g) faeces homogenates. Owing to similar pro® les
                                                             in male and female dogs, rats and mice, samples were pooled for the two genders. Initially isolated
                                                             metabolites were further puri® ed by isocratic hplc prior to mass spectral analysis.


                                                             Metabolite identi® cation
                                                                 Metabolite characterization was performed initially by the comparison of retention times on isocratic
                                                             and gradient hplc systems with authentic standards. To con® rm metabolite identities, or to identify
                                                             components for which no reference standard was available, mass spectral analysis was performed. The
                                                             radioactive components were analysed by direct infusion (5 l l } min, nebulizer gas pressure 40 psi) into an
                                                             API III plus mass spectrometer (Perkin Elmer Sciex, Toronto, Canada) ® tted with an IonSpray interface
                                                             utilized in positive ion mode.


                                                             In vitro metabolism
                                                                In vitro metabolism experiments were carried out in the hepatic microsomal fractions from male rat,
                                                             female rat, rabbit, dog and man. Transplant-q uality human liver tissue was obtained from the
                                                             International Institute for the Advancement of Medicine (Exton, PA, USA). Microsomes were prepared
                                                             according to the method of Remmer et al. (1966) and stored at –80 C. The concentrations of protein and
                                                                                                                                 Ê
                                                             cytochrome P450 were determined by standard methods (Lowry et al. 1951, Omura and Sato 1964).
                                                                Microsomal incubations (12 ml) were prepared containing 0.4 l m cytochrome P450, 50 mm TRIS
                                                             HCl (pH 7.4), 5 mm MgCl , 5 l m MnCl , 5 mm isocitric acid, 1 unit} ml isocitrate dehydrogenase and
                                                                                         #             #


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                                                 metabolism
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                                                             1 mm NADPH. Sildena® l was added after a 5-min pre-incubation at 37 C to give an initial substrate
                                                             concentration of 1 l m (selected to avoid saturation of cytochrome P450-catalysed reactions). The mixture
                                                                                Ê
                                                             was incubated at 37 C and samples (1.0 ml) removed for the analysis of sildena® l for up to 60 min. Single
                                                             incubations were conducted for each species and metabolism in samples was terminated by extraction
                                                             into 3 ml ethyl acetate containing the internal standard (UK-89,539). The ethyl acetate extracts were
                                                             evaporated to dryness and analysed on the hplc system described above for the analysis in animal plasma.
                                                             Disappearance rate constants (k) in microsomal preparations were determined by linear regression of the
                                                             log ratio (drug } internal standard) versus time. The in vitro microsomal half-life was determined
                                                             according to the equation t / = ln 2} k.
                                                                                        " #



                                                             R esu lts
                                                             Intravenous pharmacokinetics of sildena® l
                                                                 Following single i.v. doses of sildena® l to mouse and male rat, the compound
                                                             exhibited high plasma clearances (50 % or greater of liver blood ¯ ow) of 91 and
                                                             48 ml} min } kg respectively. A marked gender diå erence in plasma clearance was
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                                                             seen in rat with 13 ml} min } kg in female animals. M oderate plasma clearance values
                                                             (25 % or less of liver blood ¯ ow) of 12 and 6.0 m l} min } kg, were obtained in dog and
                                                             man respectively. The volume of distribution was similar in mouse, male and female
                                                             rat and man with 1.0, 1.1, 2.0 and 1.2 l} kg respectively. The volume of distribution
                                                             was greater in dog at 5.2 l} kg. This large volume of distribution in dog resulted in
                                                             the longest elimination half-life value of 5.2 h (half-life = (0.693 3 volume of
                                                             distribution) } clearance). The high clearance in mouse and male rat resulted in short
                                                             elimination half-lives of ! 1 h. M oderate clearance combined with the lower
                                                             volume of distribution resulted in half-lives of 1.9 h in the female rat and 2.4 h in
                                                             man. Pharmacokinetic values after i.v. administration are shown in table 1.
                                                                 In dogs, urinary excretion of sildena® l accounted for 2.8 % of the administered
                                                             dose, indicating non-renal processes to be the major process of clearance. The
                                                             piperazine N-desmethyl metabolite, UK-103,320 was observed as a circulating
                                                             metabolite in all species after i.v. administration of sildena® l. In male and female
                                                             rats, the elimination half-lives for the metabolite (1.1 and 4.3 h respectively) were
                                                             longer than those of parent compound. After i.v. doses of sildena® l to mouse and
                                                             dog, plasma concentrations of UK-103,320 were too low to allow accurate
                                                             calculation of the elimination half-life. In man, the elimination half-life of UK-
                                                             103,320 was similar to that of parent compound at 2.3 h, whereas the second
                                                             metabolite, UK-150,564, exhibited a longer elimination half-life of 5.4 h.


                                                             Oral pharmacokinetics
                                                                 Plasma concentrations of sildena® l and UK-103,320 after single p.o. doses to
                                                             animals and man are shown in ® gure 2. Data from the higher p.o. doses in rat
                                                             (45 mg } kg) and dog (20 mg } kg) are shown. These doses were selected on the basis
                                                             of those used in toxicology studies. In addition, plasma concentrations of the second
                                                             metabolite, UK-150,564, are shown for man. Summary pharmacokinetic para-
                                                             meters are listed in table 1 and these include p.o. data at the more pharmacologically
                                                             relevant dose of 1 mg } kg in rat and dog.
                                                                 T m ax were % 3 h in all species. Oral bioavailability, calculated by comparison of
                                                             dose-normalized p.o. and i.v. AUC ¢ , was 17 % (mouse), 23 % (male rat) 44 %
                                                             (female rat), 54 % (dog) and 38 % (man). The low values in mouse and male rat and
                                                             to a lesser extent female rat, dog and man re¯ ect metabolic clearance by the liver and
                                                             a resultant ® rst-pass eå ect. In dog and man, the half-lives of sildena® l after p.o.

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                                                             Table 1.    Pharmacokinetic parameters for sildena® l after single i.v. and p.o. administration to mouse,
                                                                                              male and female rat, dog and man.

                                                                                                       Mouse       Male rat       Female rat        Dog         Man
                                                             Parameter                                 (n = 5)    (n = 3 } 2*)    (n = 3} 2*)      (n = 5)     (n = 3)

                                                             Intravenous dose (mg } kg)                  1.0           4.0             4.0           1.0         0.35
                                                             Elimination half-life (h)                   nd        0.3 ‰0.1        1.9 ‰0.1       5.2 ‰2.1    2.4 ‰1.0
                                                             Plasma clearance (ml} min } kg)            91          48 ‰11          13 ‰1          12 ‰4      6.0 ‰1.1
                                                             Volume of distribution (l } kg)             1.0       1.1 ‰0.4        2.0 ‰0.2       5.2 ‰1.6    1.2 ‰0.3
                                                             Oral dose ( mg } kg)                       10.0           1.0             1.0           1.0         0.68
                                                             C max + (ng } ml)                          30            16            136           117 ‰66     212 ‰59
                                                             Tmax (h)                                    0.5           3.0             0.25       1.1 ‰0.5    1.2 ‰0.3
                                                             Elimination half-life (h)                   1.3           0.4             0.9        6.1 ‰5.8    3.7 ‰1.4
                                                             Oral bioavailability ( %)                  17            23              44           54 ‰13       38
                                                             Ratio C max sildena® l } UK-103,320         4.8           1.0             8.5           6.9         2.1

                                                                * n = 3 for intravenous dose, n = 2 for oral dose.
                                                                + Normalized to 1 mg } kg oral dose.
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                                                                nd, Not determined due to insuæ cient data.
                                                                Values are mean ‰SD where available. Samples or data have been combined for other parameters,
                                                             thus preventing statistical analysis.




                                                             Figure 2. Mean plasma concentrations of sildena® l and metabolites in mouse, male rat, female rat,
                                                                   rabbit, dog and man after single p.o. doses of sildena® l. Administered doses were 10 mg } kg
                                                                   mouse ; 45 mg } kg male and female rat ; 50 mg } kg rabbit ; 20 mg } kg dog and 0.68 mg } kg man. U ,
                                                                   sildena® l ; * , UK-103,320 ; ^ , UK-150,564. Data are the means from ® ve mice (pooled samples
                                                                   at each time point), three male and three female rats (individual samples at all time points), seven
                                                                   rabbits (three rabbits providing individual samples at each time point), two dogs and three men
                                                                   (individual samples at all time points).


                                                             administration (6.1 and 3.7 h) are slightly longer than the equivalent values after
                                                             i.v. dosing, suggesting that the rate of absorption limited the overall rate of
                                                             elimination. In rabbit, at the toxicological dose of 50 m g } kg, the mean C m ax (n = 3)
                                                             was 2190 ng } ml, observed at 2.0 h and the terminal elimination half-life was 1.8 h.
                                                                 Comparison of p.o. pharmacokinetic parameters at the diå erent dose levels
                                                             examined in dog and rat show approximately linear increases in systemic exposure

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                                                             Table 2.    Oral pharmacokinetics of sildena® l in rat and dog at pharmacological and toxicological dose
                                                                                                               levels.

                                                                                              Oral dose         C max          AUC               Ratio C max
                                                               Species                        (mg } kg)       (ng } ml)      (ng.h } ml)   sildena® l } UK-103,320

                                                               Male rat         (n =   2)         1               16               54                1.0
                                                                                (n =   3)        45              477            2300                 0.2
                                                               Female rat       (n =   2)         1              136              252                8.5
                                                                                (n =   3)        45             6620          116 000                5.0
                                                               Dog              (n =   5)         1              117              842                6.9
                                                                                (n =   2)        20             1570           18 250                5.2


                                                             in dog and male rat (table 2). For the 45-fold increase in dose in male rat, increases
                                                             in AUC and C m ax are C 43- and 30-fold respectively, and the 20-fold dose increase
                                                             in dog results in 22- and 13-fold increases in AUC and C m ax . However, clear
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                                                             evidence is observed for the clearance process of sildena® l being capacity limited in
                                                             the female rat, with a disproportionately high increase in AUC of 460-fold for the
                                                             45-fold increase in dose. This saturation has little in¯ uence on C m ax , with a 49-fold
                                                             increase being observed. In man, the pharmacokinetics of sildena® l are approxi-
                                                             mately proportional to dose across the clinical dose range (Muirhead et al. 1996).
                                                                 In all species except the male rat, the plasma concentrations of the N-desmethyl
                                                             metabolite, UK-103,320, was less than that of parent compound with C m ax ratios of
                                                             sildena® l to UK-103,320 (tables 1 and 2) between 1.9 (rabbit) and 8.5 (female rat).
                                                             In the male rat at the 45 mg } kg dose level, concentrations of UK-103,320 were
                                                             signi® cantly greater than concentrations of parent compound with a C m ax ratio =
                                                             0.2. In man, plasma concentrations of the second metabolite, UK-150,564 were
                                                             lower than those of UK-103,320 with a mean C m ax = 49 ng } ml. AUC ¢ for UK-
                                                             103,320 and UK-150,564 in man (n = 3) following p.o. administration were 55 and
                                                             27 % relative to sildena® l.

                                                             Plasma protein binding
                                                                 The binding of sildena® l to plasma protein was independent of concentration
                                                             over the concentration range 0.01± 10 l g } ml. The mean proportion of drug bound
                                                             (n = 8) was 94 (range 93± 94), 95 (94± 95), 91 (90± 92), 86 (83± 87) and 96 (96± 97) %
                                                             for mouse, rat, rabbit, dog and human plasma respectively. The mean proportion
                                                             (n = 2) of UK-103,320 bound to plasma protein at 1 l g } ml was 94, 89, 89, 86 and
                                                             95 % for mouse, rat, rabbit, dog and man respectively.

                                                             In vitro rates of metabolism
                                                                 Disappearance half-lives for sildena® l in hepatic microsomes from male rat,
                                                             female rat, rabbit, dog and man were 2, 129, 113, 38 and 45 min respectively. No
                                                             disappearance was detected in the absence of NADPH. In all species, disappearance
                                                             of parent compound was accompanied by the appearance of a com ponent that had
                                                             the same hplc retention time as authentic UK-103,320.

                                                             Excretion studies
                                                                The recoveries of radioactivity in urine and faeces following p.o. administration
                                                             of [" % C]-sildena® l to mouse, rat, female rabbit and dog and i.v. and p.o.
                                                             administration to male volunteers are shown in table 3 ; since there was no apparent
                                                             gender diå erence, m ale and female data are combined for mouse and dog. After all

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                                                             Table 3.   Excretion of radioactivity (as % administere d dose) in mouse, rat, rabbit, dog and man
                                                                                 following single oral or intravenous doses of [" % C]-sildena® l.

                                                                                                                Urine       Faeces         Total excretion
                                                             Species and                          Dose        excretion    excretion
                                                             route of administration             (mg } kg)    (0± 120 h)   (0± 120 h)     (0± 24 h)   (0± 120 h)

                                                             Mouse (3 male, 3 female) p.o.        10              6            85            86          93
                                                             Male rat (n = 3) p.o.                45              9            88            64          98
                                                             Female rat (n = 3) p.o.              45             13            82            28          95
                                                             Rabbit (n = 3) p.o.                  50             15            75            62          92
                                                             Dog (n = 2) p.o.                     20             14            73            15          87
                                                             Man (n = 3) p.o.                      0.68          12            79            19          91
                                                             Man (n = 3) i.v.                      0.35          13            76            34          89


                                                             administrations to all species, radioactivity was extensively excreted in the faeces
                                                             over 5 days. Excretion was rapid with a high percentage of radioactivity recovered
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                                                             within the ® rst 24 h in mice, rabbits and male rats. Excretion was slower in female
                                                             rats, dog and man (28, 15 and 19 % respectively in 24 h) in keeping with the longer
                                                             elimination half-lives and longer gastrointestinal transit times in dog and man.

                                                             Faecal metabolites
                                                                 Recovery of faecal radioactivity by solvent extraction was " 90 % for all species
                                                             and " 96 % of applied material was eluted from the hplc column using the gradient
                                                             conditions described. M etabolite pro® les were therefore assumed to be represen-
                                                             tative of all the biotransformations of sildena® l. Chromatography of faecal extracts
                                                             revealed a complex mixture of metabolites of [" % C]-sildena® l in all species. A
                                                             representative pro® le of a pooled human faecal extract (0± 72 h) is shown in ® gure 3.
                                                             Sildena® l was observed in faecal extracts (retention time C 55 min) of mouse (3 %
                                                             of administered dose), rat (3 % ), rabbit (21 % ) and dog (16 % ) but not in man, its
                                                             identity, when present, being con® rmed by API mass spectrometry (parent M H +
                                                             ion, 475, major daughter ions 283 and 311). A major component in faecal extracts
                                                             from all species, designated M 9 (retention C 41 min), accounted for 19 % of the
                                                             dose in mouse, 16 % in rat, 5 % in rabbit, 16 % in dog and 22 % in man. This
                                                             component co-chromatographed with authentic standard, UK-150,564, the N,N-
                                                             desethyl metabolite of sildena® l, and identity was con® rmed by API-mass
                                                             spectrometry (parent M H + ion, 449, major daughter ions 283 and 311). M 10
                                                             (retention C 48 min) showed equivalent retention time to authentic standard, UK-
                                                             103,320, and identity was again con® rmed by API-mass spectrometry (parent M H +
                                                             ion, 461, major daughter ions 283 and 311). This was identi® ed as a faecal
                                                             radioactive component in all species representing 7, 11, 11, 2 and 3 % of orally dosed
                                                             radioactivity to m ouse, rat, rabbit, dog and man respectively. Several radioactive
                                                             fractions isolated from faecal extracts contained multiple components (e.g. fractions
                                                             M 4, M 5, M 7 and M 8 in human faecal pro® le), which were subdivided on subsequent
                                                             hplc separation. One such component in human faeces was designated M 8A
                                                             (retention C 37 min) and represented 3 % of the administered dose. This component
                                                             co-chromatographed with authentic standard, UK-331,849 and this identity was
                                                             con® rmed by mass spectroscopy (parent M H + ion, 435, major daughter ions 283 and
                                                             311). A major component in rat faeces (retention C 30 min), representing 20 % of
                                                             the administered dose, co-chromatographed with authentic standard, UK-95,340
                                                             and this identity was con® rmed by mass spectrometry (parent M H + ion, 461, major
                                                             daughter ions 269 and 297). This metabolite was also observed in dog faeces (8 %

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                                                              Figure 3. Representative hplc pro® les of radioactivity in faecal and urine extracts from man following
                                                                    p.o. administration of [" % C]-sildena® l. The gradient hplc system comprised of a 153 0.46 cm
                                                                    Spherisorb 5 l ODS2 column eluted with 35± 70 % methanol in 0.05 m aqueous ammonium
                                                                    acetate over 60 min at 1 ml } min.


                                                              dose) but was not detected in other species including man. Other individual
                                                              metabolites accounted for between 2 and 4 % of the administered dose in man and
                                                              represented various oxidations within the molecule and combinations of primary
                                                              routes. All metabolic pathways observed in man were represented in one or more of
                                                              the animal species.

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                                                              Figure 4. Proposed major metabolic pathways and metabolites of sildena® l. Percentages of dosed
                                                                 radioactivity are given for each metabolite detected in excreta from man and laboratory animals.


                                                              Urinary metabolite pro® le in man
                                                                    Only one major component was isolated from human urine extracts following
                                                              p.o. administration of [" % C]-sildena® l (® gure 3). This component, M 6 (retention
                                                              C 32 min), represented 41 % of urine (0± 24 h) radioactivity and 5 % of the admini-
                                                               stered dose. The metabolite did not co-chromatograph with any of the authentic
                                                               standards, and mass spectral analysis (data not shown) indicated hydroxylation in
                                                               the pyrazolo-pyridine part of the molecule, most likely on the 3-propyl substituent.
                                                               This m etabolite was identical (by chromatography and mass spectroscopy) to
                                                               component M 6 observed in human and animal faecal extracts.
                                                                    The major metabolic pathways of [" % C]-sildena® l in animals and man are shown
                                                               in ® gure 4.

                                                              Circulating metabolites of sildena® l
                                                                  In man, after p.o. administration, concentrations of radioactivity declined with
                                                              an identical half-life to that of sildena® l (3.7 h), indicative of formation rate limited
                                                              clearance of metabolites. In both dog and rabbit, the elimination half-life of

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                                                              Figure 5. Representative pro® le of radioactivity in human plasma extract (1 h post-dose) following p.o.
                                                                    administration of [ " % C]-sildena® l. The gradient hplc system comprised of a 12.53 0.46 cm
                                                                    Spherisorb 5 l ODS2 column, eluted with 30± 80 % methanol in 0.05 m ammonium acetate over
                                                                    30 min at 1 ml} min.


                                                              radioactivity was slightly longer (7.3 and 5.1 h respectively), than the half-life of
                                                              sildena® l determined in the same samples (4.2 and 1.8 h respectively). To
                                                              complement the speci® c assay of sildena® l and UK-103,320 in animal and human
                                                              plasma and UK -150,564 in human plasma, the pro® le of radioactive components
                                                              was investigated in human plasma 1 h after the administration of p.o. and i.v. doses
                                                              of [" % C]-sildena® l. The pro® le of radioactive components in plasma after p.o.
                                                              administration is shown in ® gure 5. The major component, designated P5 (47 % of
                                                              plasma radioactivity after p.o. dose and 68 % i.v.), was parent compound. The next
                                                              most slowly eluting component, P4, was identi® ed as UK-103,320 and represented
                                                              19 and 9 % of plasma radioactivity after p.o. and i.v. doses respectively. Component
                                                              P3 was identi® ed as UK-150,564 accounting for 13 and 7 % respectively of p.o. and
                                                              i.v. plasma radioactivity. Component P2, represented 9 % of p.o. plasma radio-
                                                              activity (6 % i.v.) and was found to have an identical mass spectrum to M 6 identi® ed
                                                              in human and animal excreta. The most rapidly eluting component, P1 (7 % p.o.,
                                                              5 % i.v.), was not identi® ed.


                                                              D iscussion
                                                                 Absorption of sildena® l from the gastrointestinal tract is judged to be essentially
                                                              complete by the similar recoveries of radioactivity in the urine of man after i.v. and
                                                              p.o. adm inistration of sildena® l. In addition, p.o. bioavailability in animal species is
                                                              consistent with complete absorption and the degree of ® rst-pass metabolism
                                                              expected from clearance values after i.v. doses. Sildena® l is a weakly basic compound
                                                              (pK a = 6.5) which is therefore only partially ionized at physiological pH. The

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                                                              Table 4.    Relationship between volume of distribution and plasma protein binding of sildena® l animal
                                                                                                        species and man.

                                                                                          Volume of             Sildena® l unbound      Volume of distribution
                                                                Species               distribution (l } kg)     fraction in plasma*     of unbound drug (l } kg)

                                                                Mouse                         1.0                       0.06                       17
                                                                Male rat                      1.1                       0.05                       22
                                                                Female rat                    2.0                       0.05                       40
                                                                Dog                           5.2                       0.14                       37
                                                                Man                           1.2                       0.04                       30

                                                                 * Data are the mean of eight determinations (n = 2 at four concentrations).


                                                              compound is moderately lipophilic (log D ( . % = 2.7) resulting in good solubility
                                                              (Terrett et al. 1996). These desirable physicochemical parameters (Smith et al.
                                                              1990) confer the excellent absorption properties observed with this p.o. agent.
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                                                                  Sildena® l exhibits a volume of distribution in excess of the volume of body water
                                                              ( C 0.8 l} kg), therefore indicating some tissue aæ nity, in keeping with its weakly
                                                              basic nature. Species diå erences in volume of distribution re¯ ect the diå erences in
                                                              plasma protein binding as the volume of distribution of unbound drug (V du ) remains
                                                              relatively constant (C 2-fold variation) across the species (table 4). This is in keeping
                                                              with the high cross-species correlation for Vdu observed for a large range of drug
                                                              molecules (Obach et al. 1997). Free drug equilibrium between plasma and tissues
                                                              therefore remains constant (Smith et al. 1996). The actual eå ect of protein binding
                                                              on total drug distribution to tissues and tissue levels is minimal since at least 90 %
                                                              of the dose resides outside the circulation (i.e. within the tissues) in all cases, with a
                                                              maximal of 98 % in the case of the dog (based on blood volume of C 0.1 l} kg). These
                                                              data on variation in plasma protein binding across the species are consistent with the
                                                              trend shown for a large number of drugs that demonstrated that m an generally has
                                                              a lower free fraction than animal species (Smith 1987).
                                                                  Sildena® l is cleared almost exclusively by metabolism, in keeping with its
                                                              relatively lipophilic nature and hence low renal clearance and excretion due to high
                                                              tubular reabsorption in the kidney. Indeed, it is likely that the low levels of
                                                              unchanged drug present in rabbit and dog faeces after radiolabelled doses re¯ ect
                                                              incomplete absorption (rather than biliary excretion of parent) at the relatively high
                                                              dose levels used in these studies. The NADPH-dependent metabolism of sildena® l
                                                              observed in hepatic m icrosomal fractions from all species suggests that the
                                                              compound is metabolized by cytochrome P450 enzymes. The relative rates of
                                                              metabolism are approximately consistent with the clearances observed in vivo. The
                                                              signi® cant gender diå erence between male and female rat metabolism rate in vitro
                                                              (half-lives of 2 and 129 min respectively) is re¯ ected in the greatly reduced clearance
                                                              (48 and 13 ml} min } kg respectively) and higher bioavailability observed in vivo.
                                                              Similarly moderate in vitro clearance in dog and man is re¯ ected in moderate in vivo
                                                              clearance and bioavailability values in these two species. Saturation of sildena® l
                                                              clearance is only observed in the female rat over the dose range examined here.
                                                              Owing to the low ® rst-pass eå ect in female rats the increase in C m ax is approximately
                                                              linear, however there is a 10-fold greater than linear increase in AUC. The
                                                              saturation is re¯ ected in the plasma concentration-time curve in the female rat
                                                              (® gure 2) which does not exhibit ® rst-order pharmacokinetic behaviour.
                                                                  M etabolism of sildena® l is complex in all species with up to 16 diå erent
                                                              metabolites isolated, m ost of these only representing small fractions of the

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                                                              administered dose. However, similar metabolic transformations are observed in all
                                                              species investigated and in general involve the piperazine ring, either via N-
                                                              demethylation, hydroxylation or ring opening. Piperazine N-demethylation is well
                                                              precedented in xenobiotic metabolism, including, for example, the antipsychotic
                                                              agents clozapine (Jann et al. 1993) and olanzapine (Ring et al. 1996). However, in
                                                              contrast with these agents, a piperazine N-oxide metabolite was not observed for
                                                              sildena® l, although an authentic reference standard was available for comparison. In
                                                              addition, the opening of the piperazine ring of sildena® l is a less commonly observed
                                                              route of metabolism. Precedents for this route of metabolism were recently reviewed
                                                              with respect to the elastase inhibitor, L-694,458 (Luå er-Atlas et al. 1997) where
                                                              piperazine scission was also observed. As with sildena® l, this route was observed for
                                                              L-694,458 and again with and without retention of the piperazine N-methyl group.
                                                              M ono- and dihydroxylated metabolites involving the piperazine ring were observed
                                                              in small quantities in animal and human excreta and it is possible that they may be
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                                                              intermediates in the formation of UK-150,564. Two successive hydroxylations at
                                                              adjacent carbons of the piperazine ring have been proposed as a potential mechanism
                                                              for this ring opening (Baillie et al. 1979). N-demethylation of the pyrazole of
                                                              sildena® l, resulting in the metabolite, UK-95,340 is only observed to a signi® cant
                                                              extent in rat and dog. However, small quantities of metabolites that include this N-
                                                              demethylation in combination with other transformations are observed in m an (2 %
                                                              of dose) and mouse and rabbit. No conjugated metabolites of sildena® l were
                                                              observed in any of the species investigated. The absence of conjugates was con® rmed
                                                              in additional studies with bile duct cannulated male rats (data not shown) in
                                                              which biliary metabolites were analysed.
                                                                  In man, sildena® l is the principal component circulating in plasma, and taken
                                                              together with pharmacological potency it is considered responsible for almost all
                                                              pharmacological activity observed. Speci® c analysis for the N-desmethyl meta-
                                                              bolite, UK-103,320, shows that in all species except the male rat, sildena® l is the
                                                              major pharmacologically active component present. The very rapid rate of
                                                              metabolism in male rat results in considerably greater systemic exposure to UK-
                                                              103,320 than sildena® l (5 3 C m ax and 9 3 AUC ¢ ) after a p.o. dose. Such a gender
                                                              diå erence in cytochrom e P450-mediated metabolism in rats is well precedented and
                                                              is generally unique to this species (Smith 1991).
                                                                  In conclusion, the pharmacokinetics of sildena® l are consistent with its
                                                              physicochemical properties. The compound is suæ ciently lipophilic and soluble to
                                                              be well absorbed from the gastrointestinal tract over the clinical dose range
                                                              (Muirhead et al. 1996). Its moderate lipophilic and weakly basic nature result in
                                                              extensive tissue distribution and clearance by metabolism. Five major routes of
                                                              metabolism have been identi® ed and all metabolites observed in man are represented
                                                              in the animal species studied herein.




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